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                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                           ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                         56 Forsyth Street, N.W.
                                         Atlanta, Georgia 30303

David J. Smith                                                                   For rules and forms visit
Clerk of Court                                                                   www.ca11.uscourts.gov


                                     September 30, 2023

Cameron Thomas Norris
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1600 WILSON BLVD STE 700
ARLINGTON, VA 22209

Appeal Number: 23-13138-D
Case Style: American Alliance for Equal Rights v. Fearless Fund Management, LLC, et al
District Court Docket No: 1:23-cv-03424-TWT

The enclosed order has been ENTERED.

All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
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Clerk's Office Phone Numbers
General Information: 404-335-6100         Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135         Capital Cases:               404-335-6200
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                                                                   MOT-2 Notice of Court Action
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                                In the
             United States Court of Appeals
                      For the Eleventh Circuit
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